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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: PAYMENT CARD INTERCHANGE FEE AND
MERCHANT DISCOUNT ANTITRUST LITIGATION                                              MDL No. 1720


                                      TRANSFER ORDER


        Before the Panel: Plaintiff moves under Panel Rule 7.1 to vacate the Panel’s order
conditionally transferring the action listed on the attached Schedule A (Mirage) to the Eastern
District of New York for inclusion in MDL No. 1720. Plaintiffs in two previously-transferred
MDL actions (Target and 7-Eleven) filed an interested party brief supporting the motion to vacate.
Defendants Apple Inc., Visa Inc., and Mastercard Incorporated oppose the motion and support
transfer.

        After considering the argument of counsel, we find that the Mirage action shares questions
of fact with the actions transferred to MDL No. 1720, and that transfer under 28 U.S.C. § 1407
will serve the convenience of the parties and witnesses and promote the just and efficient conduct
of the litigation. Moreover, transfer is warranted for the reasons set out in our order directing
centralization. In that order, we held that the Eastern District of New York was an appropriate
forum for actions arising out of allegations “that the imposition of a no-surcharge rule and/or the
establishment of the interchange fee causes the merchant discount fee to be set at supracompetitive
levels in violation of the federal antitrust laws.” See In re Payment Card Interchange Fee and
Merchant Discount Antitrust Litig., 398 F. Supp. 2d 1356, 1358 (J.P.M.L. 2005). The Mirage
action, like all the MDL actions, includes allegations that Visa and MasterCard have engaged in
anticompetitive conduct concerning the setting and maintenance of artificially inflated interchange
and merchant fees at supracompetitive levels in connection with the acceptance of Visa and
Mastercard payment cards. The action thus falls squarely within the subject matter of the MDL.
Transfer will facilitate the efficient conduct of overlapping pretrial proceedings and avoid the risk
of inconsistent rulings.

         In opposition to transfer, plaintiffs principally argue that (1) the factual overlap between
Mirage and the MDL is insubstantial, emphasizing their focus on Apple Pay and Apple’s absence
as a defendant in the MDL; (2) the putative class in Mirage is different from the certified classes
in the MDL; and (3) pretrial proceedings in the MDL are largely complete, whereas Mirage is in
its infancy. These arguments are unpersuasive. First, the focus of Mirage is a subset of the conduct
at issue in the MDL: an alleged agreement between Visa, Mastercard, and Apple to restrain Apple


 Judge Nathaniel M. Gorton and Judge David C. Norton did not participate in the decision of this
matter.
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from developing or facilitating a competing payment card network on the iPhone, in exchange for
Visa and Mastercard paying Apple a portion of the merchant fees that they charge for transactions
completed through the Apple Pay mobile wallet. This same conduct is at issue in the MDL. 1
Thus, Mirage is subsumed by the actions in the MDL. Additionally, it is undisputed that the MDL
discovery covered the Apple Pay agreement at issue in Mirage, including a Rule 30(b)(6)
deposition of Apple. Apple’s absence as a defendant in the MDL is not significant given the
common factual core. Moreover, the Panel often has held that transfer does not require a complete
identity of parties. See, e.g., In re Bank of New York Mellon Corp. Foreign Exchange Transactions
Litig., 857 F. Supp. 2d 1371, 1372-73 (J.P.M.L. 2012).

        Second, the putative class in Mirage overlaps substantially with at least the equitable relief
class in the MDL. The mandatory equitable relief class certified in the MDL is defined as all
merchants “that accept Visa and/or Mastercard credit and/or debit cards in the United States at any
time during the period between December 18, 2020 and the date of entry of Final Judgment in this
case.”2 The putative class in Mirage includes merchants who accepted Apple Pay, including
digitally-stored Visa and Mastercard cards, at the point-of-sale from late 2019 to the present. Thus,
the Mirage putative class (i.e., those who accept Apple Pay payments from digitally-stored Visa
or Mastercard cards) overlaps substantially with members of the Rule 23(b)(2) equitable relief
class in the MDL. Additionally, the equitable relief class remains in active litigation in the MDL
– most notably, with respect to a pending motion for preliminary approval of a nationwide class
settlement. Transfer will prevent inconsistent rulings with respect to the proposed settlement and
its impact on Mirage.

         Third, the advanced status of the MDL does not weigh against transfer. Plaintiffs are
correct that the proceedings are at an advanced stage, with common discovery complete and many
important motions resolved. On balance, though, we find that transfer of Mirage still is warranted.
The transferee judge continues to actively manage pretrial proceedings in unresolved actions. She
also presides over the previously-approved damages class settlement and the proposed equitable
relief class settlement. Thus, she remains in the best position to streamline pretrial proceedings in
newly-filed actions with the discovery and motions practice that have been completed. If the
transferee judge finds at any point in the pretrial proceedings that the inclusion of Mirage will not
serve the convenience of the parties and witnesses or promote the just and efficient conduct of this
litigation, Section 1407 remand of the action to its transferor court can be accomplished with a
minimum of delay. See Panel Rules 10.1-10.3.


1
  For example, the operative complaints filed by plaintiffs representing the damages class and the
equitable relief class allege that Visa and Mastercard’s alleged agreements with Apple block
competition from potential new competitors on Apple Pay. The alleged agreements also are
discussed in a summary judgment opinion issued in the MDL earlier this year. See, e.g., In re
Payment Card Interchange Fee and Merchant Discount Antitrust Litig., __ F. Supp. __, 2024 WL
278565, at *34 & n.40 (E.D.N.Y. Jan. 25, 2024) (denying defendants’ motion for summary
judgment based on, inter alia, evidence concerning Visa and Mastercard’s alleged “bilateral
agreements with Apple to prevent it from developing a competing payment network”).
2
    See DDMB, Inc. v. Visa, Inc., 2021 WL 6221326, at *50 (E.D.N.Y. Sept. 27, 2021).
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       IT IS THEREFORE ORDERED that the action listed on Schedule A is transferred to the
Eastern District of New York and, with the consent of that court, assigned to the Honorable Margo
K. Brodie for inclusion in the coordinated or consolidated pretrial proceedings.



                                       PANEL ON MULTIDISTRICT LITIGATION



                                      _________________________________________
                                                  Karen K. Caldwell
                                                       Chair

                                     Matthew F. Kennelly           Roger T. Benitez
                                     Dale A. Kimball               Madeline Cox Arleo
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IN RE: PAYMENT CARD INTERCHANGE FEE AND
MERCHANT DISCOUNT ANTITRUST LITIGATION                        MDL No. 1720


                                      SCHEDULE A


           Southern District of Illinois

     MIRAGE WINE + SP
